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                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA


DONALD BARNES (#385417)                                                      CIVIL ACTION

VERSUS

DARRYL VANOY, ET AL.                                                         19-764-JWD-RLB


                                             NOTICE

       Please take notice that the attached Magistrate Judge’s Report has been filed with the

Clerk of the United States District Court.

       In accordance with 28 U.S.C. § 636(b)(1), you have fourteen (14) days after being served

with the attached Report to file written objections to the proposed findings of fact, conclusions of

law and recommendations therein. Failure to file written objections to the proposed findings,

conclusions, and recommendations within 14 days after being served will bar you, except upon

grounds of plain error, from attacking on appeal the unobjected-to proposed factual findings and

legal conclusions of the Magistrate Judge which have been accepted by the District Court.

       ABSOLUTELY NO EXTENSION OF TIME SHALL BE GRANTED TO FILE

WRITTEN OBJECTIONS TO THE MAGISTRATE JUDGE’S REPORT.

       Signed in Baton Rouge, Louisiana, on February 8, 2021.




                                              S
                                              RICHARD L. BOURGEOIS, JR.
                                              UNITED STATES MAGISTRATE JUDGE
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                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA


DONALD BARNES (#385417)                                                     CIVIL ACTION

VERSUS

DARRYL VANOY, ET AL.                                                        19-764-JWD-RLB

             MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

       The pro se plaintiff, a person confined at the Louisiana State Penitentiary (“LSP”), filed

this proceeding pursuant to 42 U.S.C. § 1983 against several defendants, alleging that his

constitutional rights were violated due to the defendants’ failure to protect him from harm.

       Pursuant to the requirements of Rule 4(m) of the Federal Rules of Civil Procedure, failure

to serve a defendant within 90 days of commencement of an action is cause for dismissal of that

defendant from the proceeding. Although a pro se plaintiff may rely on service by the U.S.

Marshal, he may not remain silent and do nothing to effectuate such service and should attempt

to remedy any defects of which he has knowledge.

       The plaintiff’s Complaint was reinstated on April 6, 2020, and on July 1, 2020 the

plaintiff was notified that service was not accepted for defendants John Doe and John Ashley.

See R. Docs. 13 and 17. On December 1, 2020, the plaintiff was ordered to show cause in

writing why his claims against defendants Doe and Ashley should not be dismissed for failure to

serve these defendants within the time allowed by Rule 4. Plaintiff was specifically informed

that although he may rely on service by the U.S. Marshal if requested, he may not remain silent

and do nothing to effectuate such service.
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       Plaintiff failed to respond to the Court’s show cause order and has not taken any other

action to accomplish service. As such, the plaintiff’s claims against defendants Doe and Ashley

should be dismissed.

                                     RECOMMENDATION

       It is recommended that the plaintiff’s claims against defendants John Doe and John

Ashley be dismissed, without prejudice, for failure of the plaintiff to serve the defendants as

required by Federal Rule of Civil Procedure 4(m).

       Signed in Baton Rouge, Louisiana, on February 8, 2021.



                                              S
                                              RICHARD L. BOURGEOIS, JR.
                                              UNITED STATES MAGISTRATE JUDGE
